                                        Case 3:25-cv-04870-CRB         Document 14       Filed 06/10/25    Page 1 of 1




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                                   5                         IN THE UNITED STATES DISTRICT COURT
                                   6                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                   8     GAVIN NEWSOM, et al.,                           Case No. 25-cv-04870-CRB
                                   9                   Plaintiffs,
                                                                                         ORDER SETTING BRIEFING
                                  10             v.                                      SCHEDULE AND HEARING DATE
                                  11     DONALD J. TRUMP, et al.,
                                  12                   Defendants.
Northern District of California
 United States District Court




                                  13          Plaintiffs Gavin Newsom and the State of California filed an Ex Parte Motion for a
                                  14   Temporary Restraining Order at 11:00 A.M. on June 10, 2025. See Mot. (dkt. 8).
                                  15   Defendants Donald Trump, Pete Hegseth, and the Department of Defense requested “24
                                  16   hours from the time that Plaintiffs file their motion for temporary restraining order to file a
                                  17   response brief.” See Mot. at 3; Notice (dkt. 12) (requesting due date of 11:00 A.M. on
                                  18   June 11, 2025). Defendants’ request is GRANTED. The opposition shall be due by 11:00
                                  19   A.M. on Wednesday, June 11, 2025. Plaintiffs may file a response to that opposition by
                                  20   9:00 A.M. on Thursday, June 12, 2025. The Court will hold a hearing on Plaintiffs’
                                  21   motion in open court at 1:30 P.M. on Thursday, June 12, 2025. Any party wishing to
                                  22   appear by Zoom may do so.
                                  23          IT IS SO ORDERED.
                                  24          Dated: June 10, 2025
                                                                                         CHARLES R. BREYER
                                  25                                                     United States District Judge
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